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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

ASHLEY FRANCIS,
    Plaintiff,
                                              Case No. 6:22-cv-00073-RBD-LRH
v.

ACCOUNT RESOLUTION SERVICES, LLC,

     Defendant.
__________________________________________________________________

               NOTICE OF PENDENCY OF OTHER ACTIONS

       In accordance with Local Rule 1.04(d), I certify that the instant action:

_ IS         related to pending or closed civil or criminal case(s) previously filed
             in this Court, or any other Federal or State court, or administrative
             agency as indicated below:

                    _____________________________________________________

             ___________________________________________________________




x IS NOT     related to any pending or closed civil or criminal case filed with this
             Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this NOTICE OF PENDENCY
OF OTHER ACTIONS upon each party no later than fourteen days after
appearance of the party.
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Dated:    March 10, 2022


                                  By: /s/ Daniel Brennan
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